
341 S.W.3d 747 (2011)
G.L.B., Respondent,
v.
V.S.H., Appellant.
No. ED 95072.
Missouri Court of Appeals, Eastern District, Division Three.
May 17, 2011.
*748 Reginald P. Bodeux, St. Charles, MO, for appellant.
Stephanie Metroulas, Ballwin, MO, for respondent.
Before SHERRI B. SULLIVAN, P.J., CLIFFORD H. AHRENS, J, and LAWRENCE E. MOONEY, J.

ORDER
PER CURIAM.
The mother, V.S.H., appeals the judgment entered by the Circuit Court of St. Charles County in which the trial court ordered the father, G.L.B., to pay $311 per month for support of the parties' child. We have reviewed the parties' briefs and the record on appeal and find no error.
An opinion would have no precedential value. The parties have been provided with a memorandum, for their information only, setting forth the reasons for this decision.
We affirm the trial court's judgment. Rule 84.16(b)(1).
